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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
CAMPAIGN LEGAL CENTER,                           )
                                                 )
                 Plaintiff,                      )      Civ. No. 20-588 (BAH)
                                                 )
                 v.                              )      RESPONSE TO ORDER
                                                 )      TO SHOW CAUSE
FEDERAL ELECTION COMMISSION,                     )
                                                 )
                 Defendant.                      )
                                                 )

 FEDERAL ELECTION COMMISSION’S RESPONSE TO ORDER TO SHOW CAUSE

       Defendant Federal Election Commission (“Commission” or “FEC”) hereby responds to

the Court’s May 14, 2020 Order to Show Cause why the motion for default judgment filed by

plaintiff Campaign Legal Center (“CLC”) should not be granted. On July 16, 2020, CLC

voluntarily dismissed this lawsuit. CLC’s motion for default judgment is thus moot and this case

is closed, but the Commission nevertheless provides this response for the benefit of the record

and the Court.

       On September 12, 2019, CLC and an individual named Margaret Christ filed an

administrative complaint with the FEC against then unknown individuals operating a Facebook

page called America Progress Now (“APN”). Compl. for Declaratory and Injunctive Relief

(“Compl.”) ¶ 2 (Docket No. 1); Administrative Compl., https://www.fec.gov/files/legal/murs/

7643/7643_01.pdf; see also 52 U.S.C. § 30109(a)(1) (providing that any person may file an

administrative complaint with the Commission alleging a violation of the Federal Election

Campaign Act). That administrative complaint alleged that APN failed to disclose certain

Facebook ads as independent expenditures, in violation of 52 U.S.C. § 30104(c), and failed to

include required disclaimers and information on the ads, in violation of 52 U.S.C. § 30120(a), in
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connection with the 2018 congressional elections. (Compl. ¶¶ 10-11, 19-21, 25-27;

Administrative Compl.) On February 27, 2020, CLC filed this action under 52 U.S.C.

§ 30109(a)(8), alleging that the FEC had failed to act on its administrative complaint, and

seeking declaratory and injunctive relief to compel the FEC to act on its administrative

complaint. (Compl. ¶¶ 1, 29, Requested Relief ¶ 1.)

       FECA requires that at least four commissioners affirmatively vote in favor of certain

decisions before the Commissioners may take certain actions, including whether to defend any

claim brought under 52 U.S.C. § 30109(a)(8). See 52 U.S.C. §§ 30106(c), 30107(a)(6); FEC

Directive 10 ¶ B (Dec. 20, 2007), https://www.fec.gov/resources/cms-content/documents/

directive_10.pdf. The FEC has established four as the number of commissioners that must be

present for the body to consider and resolve FECA matters. FEC Directive 10 ¶¶ B, L (Dec. 20,

2007), https://www.fec.gov/resources/cms-content/documents/directive_10.pdf. At the time

CLC filed its court complaint, the Commission lacked a sufficient number of commissioners to

consider whether to authorize defense of this lawsuit because fewer than four were then serving.

That lack of quorum began on September 1, 2019, upon the resignation of former Commissioner

Matthew Petersen. See FEC Press Release, Matthew Petersen to Depart Federal Election

Commission (Aug. 26, 2019), https://www.fec.gov/updates/matthew-petersen-depart-federal-

election-commission/.

       Because the Commission could not appear to defend against CLC’s complaint in this

action, on May 5, 2020, CLC moved for entry of default against the Commission (Pl.’s Aff. in

Supp. of Default (Docket No. 10)), and the Clerk entered default on May 6, 2020 (Default

(Docket No. 11).) This Court ordered the Commission to show cause why a default judgment




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should not be entered against the Commission by July 20, 2020. (Minute Orders dated May 14,

2020 and June 3, 2020.)

         The Commission regained a quorum of four Commissioners on June 5, 2020, when

Commissioner James E. Trainor III was sworn into office. See FEC Press Release, James E.

Trainor III Sworn in as Commissioner (June 5, 2020), https://www.fec.gov/updates/james-e-

trainor-iii-sworn-commissioner/. On June 23, 2020, the Commission voted four-to-zero to

dismiss CLC’s administrative complaint based on prosecutorial discretion. 1 (Certification for

Matter Under Review (“MUR”) 7643, https://www.fec.gov/files/legal/murs/7643/7643_06.pdf.)

The Commission also adopted a Factual and Legal Analysis explaining that it had elected in its

discretion not to pursue enforcement of the underlying administrative complaint. (Notification

Letter and Factual and Legal Analysis for MUR 7643 at 3-4, 6, https://www.fec.gov/files/legal/

murs/7643/7643_08.pdf.) On or about July 8, 2020, CLC received notification of the

Commission’s dismissal decision. (Id.)

         As this timeline shows, the Commission’s lack of a quorum at the time this action was

filed prevented it from responding to the complaint. After regaining a minimum of four

Commissioners, the Commission promptly prepared to appear in this matter. CLC’s voluntary

dismissal of this action on July 16, 2020, however, renders it unnecessary for this Court to rule

on CLC’s motion for a default judgment that was the subject of the Court’s Order to Show

Cause.




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        Former FEC Commissioner Caroline Hunter subsequently resigned effective July 3,
2020, and the FEC again lost its quorum until another Commissioner is confirmed by the United
States Senate. See FEC Press Release, Caroline C. Hunter to Depart Federal Election
Commission (June 26, 2020), https://www.fec.gov/updates/caroline-c-hunter-depart-federal-
election-commission/.

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Respectfully submitted,

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July 20, 2020




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